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[Doabtsty] [Order Abating Relief from Stay]




                                              ORDERED.
Dated: November 13, 2018




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                   Case No. 6:18−bk−06338−CCJ
                                                                         Chapter 7
Manuel Menize Jr.

Ruth Elizabeth Menize

________Debtor*________/

                           ORDER ABATING MOTION FOR RELIEF FROM STAY

  THIS CASE came on for consideration, without hearing, of the Motion for Relief From Stay filed by
Quicken Loans Inc. Document 10 (the "Motion"). After a review of the Motion, the Court determines that the
motion is deficient as follows:


         The language used in the negative notice legend does not substantially conform to the
         approved negative notice legend language or includes an incorrect or incomplete address,
         including suite number, for the Court. Local Rule 2002−4.

   Accordingly it is

   ORDERED:

   1. Consideration of the motion is abated until the deficiency is corrected. No additional filing fee will be
assessed for the filing of any amended motion filed for the purposes of correcting the noted deficiency.

   2. The automatic stay of 11 U.S.C. § 362(a) is continued in effect until further order of this Court. The
deadlines of 11 U.S.C. § 362(e)(1),(2) are tolled during the abatement period.

The Clerk's office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
